           Case 3:19-mj-05249-BGS Document 1 Filed 11/25/19 PageID.1 Page 1 of 10
AO 106 (Rev . 04/10) Application for a Search Warrant



                                       UNITED STATES DISTRICT Cou
                                                                     for the
                                                                                                                 FILED
                                                         Southern District of California
                                                                                                                      NOV 2 5 2019
              In the Matter of the Search of                            )
         (Briefly describe the property to be searched                                                    CLER K US l)I'., I H!C l COUflT
                                                                        )                              SOUTH l::RN DIS l HIC I Of- CALlf-ORr''! IA
          or identify the person by name and address)
                                                                                                     -sv- ------··------·-- Q~Purv
                                                                        )           Case No.
                   Galaxy S7 cellular phone                             )
                  IMEI No. 359755076592696                              )
                                                                        )
                                                                                                        '19MJ 52 4 9
                                              APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

 See Attachment A-1
located in the _ __S_o_u_t_h_e r_n___ District of _____C_a_l_ifo_r_n_ia_ _ _ _ , there is now concealed (identify the
person or describe the property to be seized) :
 See Attachment B-1


          The basis for the search under Fed. R. Crim. P. 4l(c) is (check one or more) :
                 ~ evidence of a crime;
                 0 contraband, fruits of crime, or other items illegally possessed;
                 0 property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
            Code Section                                                         Offense Description
        21 USC§§ 952, 960 and 963                  Importation of a Controlled Substance and conspiracy



          The application is based on these facts:



           ~ Continued on the attached sheet.
           0 Delayed notice of _ _ days (give exact ending date if more than 30 days: _ _ _ __                            ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.




                                                                               Meaghan Queally, SA, Dept. of Homeland Security
                                                                                               Printed name and title

Sworn to before me and signed in my presence.


Date:      11   ~Jr,/JP                                                         ~                         (


                                                                                                 Judge 's signature

City and state: San Diego, CA                                                   Hon. Bernard G. Skomal, U.S . Magistrate Judge
                                                                                               Printed name and title
         Case 3:19-mj-05249-BGS Document 1 Filed 11/25/19 PageID.2 Page 2 of 10



 1                                          AFFIDAVIT
 2          I, Special Agent Meaghan Queally, being duly sworn, hereby state as follows:
 3                                       INTRODUCTION
 4          1.    I submit this affidavit in support of applications for warrants to search the
 5 following electronic devices ( collectively referred to herein as the Target Devices):
 6
 7
                          Galaxy S 7 cellular phone
                          IMEINo.359755076592696
 8                        (Target Device 1, as further described in Attachment A-1)
 9

10                        Treswave TW801 cellular phone
                          Serial No. TW80110619013440
11                        (Target Device 2, as further described in Attachment A-2)
12
13 and to seize evidence of crimes, specifically violations of Title 21, United States Code,
14 Section(s) 952, 960, and 963, as further described in Attachment B.
15          2.    The requested warrants relate to the investigation and prosecution of Jose
16 CAMACHO          for    importing   approximately   40.7   kilograms   (89.73   pounds)   of
17 methamphetamine from Mexico into the United States. See US. v. Jose CAMACHO, Case
18 No. 19-mj-04834. The Target Devices were seized from CAMACHO at the time of his
19 arrest, have been securely stored since they were seized, and are currently in the Homeland
20 Security Investigations evidence vault located at 2255 Niels Bohr Court, San Diego, CA
21   92154.
22          3.    The information contained in this affidavit is based upon my training,
23 expenence, investigation, and consultation with other members of law enforcement.
24 Because this affidavit is made for the limited purpose of obtaining search warrants for the
25 Target Devices, it does not contain all the information known by me or other agents
26 regarding this investigation. All dates and times described are approximate.
27 I I
28 / /

                                                 1
       Case 3:19-mj-05249-BGS Document 1 Filed 11/25/19 PageID.3 Page 3 of 10



 1                                        BACKGROUND
 2         4.     I have been employed as a Special Agent with Homeland Security
 3 Investigations (HSI) since 2007. I am currently assigned to the HSI Office of the Deputy
 4 Special Agent in Charge, in San Ysidro, California. I am a graduate of the Federal Law
 5 Enforcement Training Center in Glynco, Georgia.
 6         5.     During my tenure with HSI, I have participated in the investigation of various
 7 drug trafficking organizations involved in the importation and distribution of controlled
 8 substances into and through the Southern District of California.
 9         6.     Through my training, experience, and conversations with other members of
1O law enforcement, I have gained a working knowledge of the operational habits of narcotics
11 traffickers, in particular those who attempt to import narcotics into the United States from
12 Mexico at ports of entry. I am aware that it is common practice for narcotics smugglers to
13 work in concert with other individuals and to do so by utilizing cellular telephones. Because
14 they are mobile, the use of cellular telephones permits narcotics traffickers to easily carry
15 out various tasks related to their trafficking activities, including, e.g., remotely monitoring
16 the progress of their contraband while it is in transit, providing instructions to drug couriers,
17 warning accomplices about law enforcement activity, and communicating with co-
18 conspirators who are transporting narcotics and/or proceeds from narcotics sales.
19         7.     Based upon my training, experience, and consultations with law enforcement
20 officers experienced in narcotics trafficking investigations, and all the facts and opinions
21 set forth in this affidavit, I know that cellular telephones (including their Subscriber
22 Identity Module (SIM) card(s)) can and often do contain electronic evidence, including,
23 for example, phone logs and contacts, voice and text communications, and data, such as
24 emails, text messages, chats and chat logs from various third-party applications,
25 photographs, audio files, videos, and location data. In particular, in my experience and
26 consultation with law enforcement officers experienced in narcotics trafficking
27 investigations, I am aware that individuals engaged in drug trafficking commonly store
28 photos and videos on their cell phones that reflect or show co-conspirators and associates

                                                  2
       Case 3:19-mj-05249-BGS Document 1 Filed 11/25/19 PageID.4 Page 4 of 10



 1 engaged in drug trafficking, as well as images and videos of drugs or contraband, proceeds
 2 and assets from drug trafficking, and communications to and from recruiters and
 3 orgamzers.
 4        8.     This information can be stored within disks, memory cards, deleted data,
 5 remnant data, slack space, and temporary or permanent files contained on or in the cellular
 6 telephone. Specifically, searches of cellular telephones may yield evidence:
 7
          a.     tending to indicate efforts to import methamphetamine, or some other
 8               federally controlled substance, from Mexico into the United States;
 9
          b.     tending to identify accounts, facilities, storage devices, and/or services-
10               such as email addresses, IP addresses, and phone numbers-used to
                 facilitate the importation of methamphetamine, or some other federally
11
                 controlled substance, from Mexico into the United States;
12
          C.     tending to identify co-conspirators, criminal associates, or others involved
13
                 in importation of methamphetamine, or some other federally controlled
14               substance, from Mexico into the United States;
15
          d.     tending to identify travel to or presence at locations involved in the
16               importation of methamphetamine, or some other federally controlled
                 substance, from Mexico into the United States, such as stash houses, load
17
                 houses, or delivery points;
18
          e.     tending to identify the user of, or persons with control over or access to,
19
                 the Target Devices; and/or
20
          f.     tending to place in context, identify the creator or recipient of, or establish
21
                 the time of creation or receipt of communications, records, or data involved
22               in the activities described above.
23        9.     Subscriber Identity Module (SIM) Cards, also known as subscriber identity
24 modules, are smart cards that store data for cellular telephone subscribers. Such data
25 includes user identity, location and phone number, network authorization data, personal
26 security keys, contact lists and stored text messages. Much of the evidence generated by a
27 smuggler's use of a cellular telephone would likely be stored on any SIM Card that has
28

                                                 3
       Case 3:19-mj-05249-BGS Document 1 Filed 11/25/19 PageID.5 Page 5 of 10



 1 been utilized in connection with that telephone. SIM cards are necessary for a cell phone
 2 to operate properly.
 3
                          FACTS SUPPORTING PROBABLE CAUSE
 4
 5         10.   According to Customs and Border Protection Officers' (CBPO) reports, on
 6 October 30,      2019,   at approximately       10:00 a.m.,   Jose Arnoldo    CAMACHO
 7 ("CAMACHO") applied for permission to enter the United States at the Otay Mesa Port of
 8 Entry. CAMACHO was the driver and sole occupant of a 2007 Toyota Camry.
 9 CAMACHO was referred for secondary inspection, and a CBPO discovered 85 packages
10 concealed within the rocker panels, the rear doors, and from within and underneath the rear
11 seat of CAMACHO's vehicle. The packages weighed approximately 40.7 kg (89.73 lbs.),
12 and field-tested positive as methamphetamine. CAMACHO was subsequently arrested and
13 both Target Device 1 and Target Device 2 were found in CAMACHO's vehicle.
14         11.   Prior to interviewing CAMACHO, I read CAMACHO his Miranda rights
15 with the assistance of a Spanish translator, and he agreed to speak to agents without an
16 attorney present. CAMACHO denied knowledge of the drugs in his vehicle. CAMACHO
17 stated that the night before he was arrested, he and his girlfriend went to a house party.
18 CAMACHO stated that while at the party, he lent his vehicle to his girlfriend's friend,
19 Estella, for a period of an hour and a half. CAMACHO stated that the only other person
20 who usually drives his vehicle is his girlfriend. CAMACHO stated that Target Device 1
21   belongs to him. CAMACHO stated that Target Device 2 belongs to his girlfriend, but that
22 she gave it to him to use.
23         12.   Based on this information, I contacted CAMACHO's girlfriend, who
24 confirmed that Target Device 2 belongs to her, but also confirmed that she allows
25 CAMACHO to use it for connecting to the Internet. In addition to confirming ownership
26 of Target Device 2, CAMACHO's girlfriend stated that the night before they had been at
27 CAMACHO's nephew's house watching a movie.                CAMACHO's girlfriend denied
28 knowing anyone named Estella.

                                               4
       Case 3:19-mj-05249-BGS Document 1 Filed 11/25/19 PageID.6 Page 6 of 10



 1         13.   Based upon my training and experience, there is probable cause to believe that
 2 CAMACHO was using the Target Devices to communicate with others to further the
 3 importation of illicit narcotics into the United States.
 4         14.   In my training and experience, narcotics traffickers may be involved in the
 5 planning and coordination of a drug smuggling event in the days and weeks prior to an
 6 event. Co-conspirators are also often unaware of a defendant's arrest and will continue to
 7 attempt to communicate with a defendant after their arrest to determine the whereabouts of
 8 the narcotics. Based on my training and experience, it is also not unusual for individuals,
 9 such as CAMACHO, to attempt to minimize the amount of time they were involved in their
1O smuggling activities, and for the individuals to be involved for weeks and months longer
11 than they claim. Accordingly, I request permission to search the Target Devices for data
12 for the period of August 1, 2019 through October 30, 2019.
13                                      METHODOLOGY
14         15.   It is not possible to determine, merely by knowing the cellular telephone's
15 make, model and serial number, the nature and types of services to which the device is
16 subscribed and the nature of the data stored on the device. Cellular devices today can be
17 simple cellular telephones and text message devices, can include cameras, can serve as
18 personal digital assistants and have func~ions such as calendars and full address books and
19 can be mini-computers allowing for electronic mail services, web services and rudimentary
20 word processing. An increasing number of cellular service providers now allow for their
21   subscribers to access their device over the internet and remotely destroy all of the data
22 contained on the device. For that reason, the device may only be powered in a secure
23 environment or, if possible, started in "flight mode" which disables access to the network.
24 Unlike typical computers, many cellular telephones do not have hard drives or hard drive
25 equivalents and store information in volatile memory within the device or in memory cards
26 inserted into the device. Current technology provides some solutions for acquiring some of
27 the data stored in some cellular telephone models using forensic hardware and software.
28 Even if some of the stored information on the device may be acquired forensically, not all

                                                5
         Case 3:19-mj-05249-BGS Document 1 Filed 11/25/19 PageID.7 Page 7 of 10



 1 of the data subject to seizure may be so acquired. For devices that are not subject to forensic
 2 data acquisition or that have potentially relevant data stored that is not subject to such
 3 acquisition, the examiner must inspect the device manually and record the process and the
 4 results using digital photography. This process is time and labor intensive and may take
 5 weeks or longer.
 6          16.   Following the issuance of this warrant, I will collect the subject cellular
 7 telephone and subject it to analysis. All forensic analysis of the data contained within the
 8 telephone and its memory cards will employ search protocols directed exclusively to the
 9 identification and extraction of data within the scope of this warrant.
1O          17.   Based on the foregoing, identifying and extracting data subject to seizure
11 pursuant to this warrant may require a range of data analysis techniques, including manual
12 review, and, consequently, may take weeks or months. The personnel conducting the
13 identification and extraction of data will complete the analysis within 90 days, absent
14 further application to this court.
15                      PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
16          18.   Law enforcement has not previously attempted to obtain the evidence sought
17 by this warrant.
18                                           CONCLUSION
19          19.   Based on the facts and information set forth above, there is probable cause to
20 believe that a search of the Target Devices will yield evidence ofCAMACHO's violations
21 of Title 21, United States Code, Sections 952, 960 and 963.
22          20.   Because the Target Devices were seized at the time of CAMACHO's arrest
23 and have been securely stored since that time, there is probable cause to believe that such
24 evidence continues to exist on the Target Devices. As stated above, I believe that the
25 appropriate date range for this search is August 1, 2019 through October 30, 2019.
26 I I
27 I I
28 / /

                                                 6
       Case 3:19-mj-05249-BGS Document 1 Filed 11/25/19 PageID.8 Page 8 of 10



 1         21.   Accordingly, I request that the Court issue warrants authorizing law
 2 enforcement to search the item(s) described in Attachments A-1 and A-2 and seize the
 3 items listed in Attachment B, using the above-described methodology.
 4
 5 I swear the foregoing is true and correct to the best of my knowledge and belief.
 6
 7

 8                                         Spe~an~
                                           Homeland Security Investigations
 9
10
     Subscribed and sworn to before me this   -z.r---   day ofNovember, 2019.

11
12
   Hon. Bernard G. Skomal
13 United States Magistrate Judge
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                               7
  Case 3:19-mj-05249-BGS Document 1 Filed 11/25/19 PageID.9 Page 9 of 10



                               ATTACHMENT A-1

                          PROPERTY TO BE SEARCHED

The following property is to be searched:

                   Galaxy S7 cellular phone
                   IMEINo.359755076592696
                   (Target Device 1)


Target Device 1 is currently in the possession of Homeland Security Investigations,
2255 Niels Bohr Court, San Diego, CA 92154.
 Case 3:19-mj-05249-BGS Document 1 Filed 11/25/19 PageID.10 Page 10 of 10



                                  ATTACHMENTB

                                ITEMS TO BE SEIZED

       Authorization to search the cellular telephone includes the search of disks,
memory cards, deleted data, remnant data, slack space, and temporary or permanent
files contained on or in the cellular telephone for evidence described below. The seizure
and search of the cellular telephone shall follow the search methodology described in
the affidavit submitted in support of the warrant.

      The evidence to be seized from the cellular telephone will be electronic records,
communications, and data such as emails, text messages, chats and chat logs from
various third-party applications, photographs, audio files, videos, and location data, for
the period of August 1, 2019 through October 30, 2019:

      a.     tending to indicate efforts to import methamphetamine, or some other
             federally controlled substance, from Mexico into the United States;

      b.     tending to identify accounts, facilities, storage devices, and/or services-
             such as email addresses, IP addresses, and phone numbers-used to
             facilitate the importation of methamphetamine, or some other federally
             controlled substance, from Mexico into the United States;

      c.     tending to identify co-conspirators, criminal associates, or others involved
             in importation of methamphetamine, or some other federally controlled
             substance, from Mexico into the United States;

      d.     tending to identify travel to or presence at locations involved in the
             importation of methamphetamine, or some other federally controlled
             substance, from Mexico into the United States, such as stash houses, load
             houses, or delivery points;

      e.     tending to identify the user of, or persons with control over or access to,
             the Target Device; and/or

      f.     tending to place in context, identify the creator or recipient of, or establish
             the time of creation or receipt of communications, records, or data involved
             in the activities described above;

which are evidence of violations ofTitle 21, United States Code, Sections 952,960, and
963.
